     Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 1 of 18                         FILED
                                                                                      2022 Aug-30 PM 05:03
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                            JASPER DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        ) CASE No.
                                          )
KONIE MINGA                               )

                                PLEA AGREEMENT

          The government and the defendant, KONIE MINGA, hereby acknowledge

the following plea agreement in this case:

                                         PLEA

          The defendant agrees to plead guilty to COUNT ONE of the Information filed

in the above numbered and captioned matter. In exchange, the United States agrees

to recommend the disposition specified below, subject to the conditions in Sections

VII and VIII.

                          TERMS OF THE AGREEMENT

     I.         MAXIMUM PUNISHMENT

          The defendant understands that the maximum statutory punishment that may

be imposed for the crime of misprision of felony in violation of Title 18, United

States Code, Section 4, as charged in COUNT ONE is:

             a. Imprisonment for not more than 3 years;

             b. A fine of not more than $250,000; or,

Page 1 of 18                                               Defendant's Initials   txv'\.
     Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 2 of 18




               c. Both (a and b);

               d. Supervised release of not more than 1 year; and

               e. Special Assessment Fee of $100 per count.

    II.           FACTUAL BASIS FOR PLEA

          A.      P.M.'s Exclusion and 2021 Conviction for Health Care Fraud

                  1.    Overview of Medicare Exclusion

          The Medicare Program ("Medicare") is a federal health insurance program

that provides medical benefits, items, and services to beneficiaries: ( 1) aged 65 and

older, (2) under 65 with certain disabilities, and (3) of all ages with end-stage renal

disease (permanent kidney failure requiring dialysis or a kidney transplant). Entities,

such as physicians, clinics, and other health care providers, that desire to bill

Medicare for services provided to Medicare beneficiaries are able to apply for and

obtain a Medicare "provider number." Medicare provider numbers enable health

care providers to file claims with Medicare to obtain reimbursement for services

provided to beneficiaries.

       Medicare requires providers accurately and truthfully complete a Medicare

application to become providers. The application requires disclosure of parties with

an "ownership interest and/or managing control" in the provider business. The

application further requires Medicare providers to disclose any adverse legal history

for all individuals and entities with an "ownership interest and/or managing control."

Page 2 of 18                                                  Defendant's Initials   '<.,;{V'\.
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 3 of 18




Adverse legal history includes any felony conviction for a financial crime, such

insurance fraud or embezzlement, within ten years of the application. Medicare

providers are also required to certify that neither the provider, nor any owner,

partner, officer, director, managing employee, authorized official, or delegated

official is currently sanctioned, suspended, debarred, or excluded by Medicare or

otherwise prohibited from supplying services to Medicare. Medicare providers are

required to update the application if this information changed. In general, once a

provider is enrolled in Medicare, the provider is required to revalidate their

enrollment every five years. When revalidating, a provider most confirm that the

information submitted with the provider's initial application remains accurate.

       The Department of Health and Human Services, Office of Inspector General

(HHS OIG) has the authority to exclude providers and related individuals from

Medicare if they fail to disclose required material information. Once excluded an

individual may not serve in an executive or leadership role at a provider that

furnishes items or services payable by Medicare. Also, an excluded individual may

generally not provide other types of administrative and management services, such

as information technology services and support, strategic planning, billing and

accounting, staff training, and human resources. HHS OIG maintains a List of

Excluded Individuals/Entities that identifies all currently excluded individuals and

entities. HHS OIG recommends that healthcare entities routinely check the List of

Page 3 of 18                                              Defendant's Initials   \(J("'\
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 4 of 18




Excluded Individuals/Entities to ensure that new hires and current employees are not

on it because they risk liability for employing excluded individuals.

              2.   P.M.'s Exclusion from Medicare

                   a.     P.M.'s 2010 Criminal Conviction

      On May 27, 2008, P.M. was charged in federal district court in the Northern

District of Mississippi with wire fraud related to the sale of insurance, Case Number:

08-cr-00052-MPM-DAS. On April 5, 2010, P.M. entered a plea of guilty to the

charge of wire fraud. On November 18, 2010, P.M. was sentenced by the court to

three years' probation.

                   b.     P.M.'s Exclusion from Medicare

      At the time P.M. was charged, he had managing control of a durable medical

equipment supplier called Medpoint. Medpoint at that time was operating in Amory,

Mississippi and was enrolled in Medicare. After P.M. pled guilty and was sentenced,

neither he nor anyone else with Medpoint updated Medpoint's Medicare enrollment

information to notify CMS of P.M. 's conviction, which they were required to do.

      Following an investigation by HHS OIG, on October 17, 2016, P.M. entered

into an Exclusion Agreement with HHS OIG in which P.M. agreed to an exclusion

from Medicare for ten years. The exclusion agreement provided that Medicare

would not pay claims submitted by anyone who employed P.M. in a management or

administrative role. The exclusion agreement further provided that P.M. would hold

Page 4 of18                                                Defendant's Initials   '<;rl\-
     Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 5 of 18




Medicare harmless for any financial responsibility for claims submitted by any entity

that employed him in a management or administrative role. The exclusion agreement

further stated P.M. "understands that violations of the conditions of exclusion may

subject him to criminal prosecution." In executing the exclusion agreement, P.M.

acknowledged knowledge of its contents and entering into it voluntarily and with

advice of counsel.

               3.    P.M.'s 2021 Criminal Conviction

       Following his exclusion from Medicare, P.M. continued to manage and

control pharmacies that billed Medicare by submitting claims for payment to

Medicare. The pharmacies P.M. managed and controlled that submitted claims for

payment to Medicare following his exclusion include the following:

 Pharmacv Name                                                  State
 Amory Discount Pharmacy LLC                                    MS
 B & K Priority Care Pharmacy LLC                               AL
 Bowie's Priority Care Pharmacy LLC                             AL
 Bums Drugstore Inc.                                            AR
 Main Street Drugs LLC                                          MS
 Medical Park Pharmacy                                          AL
 Ozark Family Pharmacy LLC                                      AR
 Priority Care Pharmacy 2 LLC                                   AL
 Priority Care Pharmacy at Cotton Gin Point LLC                 MS
 Priority Care Pharmacy LLC                                     MS
 Priority Care Pharmacy Services LLC                            MS
 Priority Care Pharmacy Solutions LLC                           MS
 Priority Express Care Pharmacy LLC                             MS
 Tombigbee Pharmacy LLC                                         MS
 Tupelo Specialty Pharmacy                                      MS

Page 5 of 18                                              Defendant's Initials   "tJ"'-
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 6 of 18




 Pharmacy Name                                                     State
 Vickers Pharmacy                                                  AL
 Vincent Priority Care Pharmacy, LLC                               AL

       To      avoid   detection,   P.M.      had   those     submitting       Medicare

enrollment/revalidation paperwork for these pharmacies fail to disclose that P.M.

had an ownership interest/managerial role in these pharmacies. P.M. further ensured

that the Medicare enrollment/revalidation paperwork failed to disclose that P.M. had

been excluded from participation in all Federal health care programs by falsely

indicating that all employees of these pharmacies were checked against the HHS

OIG List of Excluded Individuals/Entities. From October 17, 2016 to August 16,

2021, Medicare paid approximately $16,109,446.67 to the pharmacies in which P .M.

had an ownership interest or managerial role.

       On April 27, 2021, P.M. was charged in federal district court in the Northern

District of Alabama with conspiracy to commit heath care fraud and wire fraud,

health care fraud, and wire fraud relating to payment claims to Medicare despite his

exclusion, Case Number 6:21-cr-00103-LSC-JHE. On August 25, 2021, P.M.

entered a plea of guilty to the charges of conspiracy to commit heath care fraud, and

health care fraud. On December 2, 2021, P .M. was sentenced by the court to a

custodial sentence of seventy-eight months.

       B.      MINGA Affirmatively Conceals P.M.'s Involvement with the
               Pharmacies Despite Her Knowledge of P.M.'s Exclusion.


Page 6 of 18                                                Defendant's Initials ·' (Ff\
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 7 of 18




              l. MINGA Becomes Aware of P.M.'s Exclusion.

      On June 27, 2018 MINGA sat for a deposition in civil litigation involving

Priority Care Pharmacy. During this deposition, MINGA was shown a document

from the website for the United States Department of Health and Human Services

announcing P.M. 's exclusion. The announcement stated as follows: "On October 17,

2016, [P.M.], the owner of a durable medical equipment (DME) company, agreed to

be excluded from participation in all Federal health care programs for a period of ten

years under 42 U.S.C. § 1320a-7(b)(7) and 42 U.S.C. § 1320a-7(b)(l6)." When

asked directly, MIN GA stated that she was unaware of P.M.'s exclusion:

      Q.      This is the first you're hearing that he was excluded?

      A.      Yes.

      Q.      Do you live with your husband?

      A.      Yes.

      Q.      Do you know whether your companies made any changes as a result
              of him having been excluded?

      A.      I don't know.

              2. MINGA Affirmatively Conceals P.M.'s Crime After Becoming
                 Aware of P.M.'s Exclusion.

      MINGA signed or allowed others to sign numerous renewal applications for

Alabama based pharmacies while she was listed as President of these pharmacies.

These pharmacies include three Walker County, Alabama-based pharmacies:

Page 7 of18                                                Defendant's Initials   \u-A
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 8 of 18




Bowie's Priority Care Phannacy, LLC; Priority Care Phannacy 2 LLC; and Vickers

Phannacy. After June 27, 2018, despite knowing about P.M.'s exclusion, MINGA

continued to allow other employees to sign documents that only she had authority to

sign, including Phannacy Participation Agreements with Health Mart Atlas, LLC,

verifying that no owner, pharmacist, or employee of the phannacy has "been

debarred or excluded from participation in federal or state health care programs."

For example, MINGA's electronic signature appears on behalf of Priority Care

Phannacy 2 LLC on a Phannacy Participation Agreement with Health Mart Atlas,

LLC dated on or about October 23, 2018, in which MINGA represented that no

owner, phannacist, or employee of the pharmacy has "been debarred or excluded

from participation in federal or state health care programs." However, an unwitting

employee actually signed this Agreement with MINGA's pennission.

       Thus, having knowledge of a felony cognizable by a court of the United

States, specifically P.M.'s Health Care Fraud under 18 U.S.C. § 1347, MINGA did

not as soon as possible make known the same to some judge or other person in civil

authority under the United States and concealed the same by affinnatively delegating

signature authority to unwitting employees-who were unaware of P.M. 's

exclusion-to represent that that no owner, phannacist, or employee of the

pharmacy has "been debarred or excluded from participation in federal or state

health care programs." After June 27, 2018-the date MIN GA received knowledge

Page 8 of 18                                             Defendant's Initials '<.,""'-
       Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 9 of 18




of P.M.'s exclusion-the three Walker County, Alabama pharmacies listed above

sought reimbursement from Medicare in the amount of $102,235.55.

        C.      Venue

        The acts described above occurred within Walker County in the Northern

District of Alabama and elsewhere. Venue is appropriate in the Northern District of

Alabama.

        D.      Stipulation

        The defendant hereby stipulates that the facts stated above are

substantially correct and that the Court can use these facts in calculating the

defendant's sentence. The defendant further acknowledges that these facts do

not constitute all of the evidence of each and every act that the defendant and/or

and co-conspirators may have committed.


                                   KONIEMINGA

III.    RECOMMENDED SENTENCE

        The United States agrees that subject to the limitations in Section VIII

regarding subsequent conduct and pursuant to Rule l l(c)(l)(B), Fed. R. Crim. P., it

will recommend the following disposition:

             a. That the defendant be awarded an appropriate reduction in offense level

                for acceptance of responsibility;


Page 9 of18                                                  Defendant's Initials   Xf'\
      Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 10 of 18




           b. That the defendant receive a sentence of home detention for a term

                consistent with the low end of the United States Sentencing Guideline

                range as determined by the court on the date the sentence is

                pronounced;

          c. That following the said term of home confinement, the defendant be

                placed on supervised release for a period to be determined by the Court,

                subject to the standard conditions of supervised release as set forth in

                U.S.S.G § 5D1 .3, and any special condition(s) ordered by the Court;

          d. That the defendant pay a special assessment fee of $100, said amount

                due and owing as of the date sentence is pronounced.

IV.     WAIVERS

                A. ADMISSIONS IN PLEA AGREEMENT

        In consideration of the recommended disposition of this case, I, KO NIE

MIN GA, hereby understand, acknowledge, and agree that, upon signing of this

plea agreement, the facts that I have admitted under this plea agreement as set

forth above, as well as any facts to which I admit in open court at the plea

hearing, shall be admissible against me under Federal Rule of Evidence

801(d)(2)(A) in any subsequent proceeding, including a criminal trial, and I

expressly waive my rights under Federal Rule of Criminal Procedure ll(f) and

Federal Rule of Evidence 410 with regard to the facts I have admitted in

Pa~e 10 of 18                                                Defendant's Initials \(_,(Y\
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 11 of 18




conjunction with this plea agreement.

                B. STATUTE OF LIMITATIONS WAIVER

       In consideration of the recommended disposition of this case, I, KONIE

MINGA, hereby understand, acknowledge, and agree that if this Plea

Agreement is set aside for any reason, I will not assert any defense based on any

applicable statute of limitations from and including the date of this Plea

Agreement until and including the date of entry of any order setting this Plea

Agreement aside.

                C. RIGHT TO APPEAL AND POST-CONVICTION RELIEF

       In consideration of the recommended disposition of this case, I, KO NIE

MINGA, hereby waive and give up my right to appeal my conviction and/or

sentence in this case, as well as any fines, restitution, and forfeiture orders, the

court might impose. Further, I waive and give up my right to argue that: (1)

the statutes to which I am pleading guilty are unconstitutional and (2) the

admitted conduct does not fall within the scope of those statutes. Further, I

waive and give up the right to challenge my conviction and/or sentence, any

fines, restitution, forfeiture orders imposed or the manner in which my

conviction and/or sentence, any fines, restitution, and forfeiture orders were

determined in any post-conviction proceeding, including, but not limited to, a

motion brought under 28 U.S.C. § 2255.

Page 11 of 18                                            Defendant's Initials   \Lr"-
     Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 12 of 18




       The defendant reserves the right to contest in an appeal or post-

conviction proceeding the following:

          a. Any sentence imposed in excess of the applicable statutory

                maximum sentence(s);

          b. Any sentence imposed in excess of the guideline sentencing range

                determined by the Court at the time sentence is imposed; and

          c. Ineffective assistance of counsel.

       The defendant acknowledges that before giving up these rights, the defendant

discussed the Federal Sentencing Guidelines and their application to the defendant's

case with the defendant's attorney, who explained them to the defendant's

satisfaction. The defendant further acknowledges and understands that the

Government retains its right to appeal where authorized by statute.

       I, KONIE MINGA, hereby place my signature on the line directly below

to signify that I fully understand the foregoing paragraphs, and that I am

knowingly and voluntarily entering into this waiver.


                                 KONIEMINGA

V.     UNITED STATES SENTENCING GUIDELINES

       Defendant's counsel has explained to the defendant, that in light of the United

States Supreme Court's decision in United States v. Booker, the federal sentencing


Page 12 of 18                                              Defendant's Initials   ~
      Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 13 of 18




guidelines are advisory in nature. Sentencing is in the Court's discretion and is no

longer required to be within the guideline range. The defendant agrees that, pursuant

to this agreement, the Court may use facts it finds by a preponderance of the evidence

to reach an advisory guideline range, and defendant explicitly waives any right to

have those facts found by a jury beyond a reasonable doubt.

VI.     AGREEMENT NOT BINDING ON COURT

        The defendant fully and completely understands and agrees that it is the

Court's duty to impose sentence upon the defendant and that any sentence

recommended by the government is NOT BINDING UPON THE COURT, and

that the Court is not required to accept the government's recommendation. Further,

the defendant understands that if the Court does not accept the government's

recommendation, the defendant does not have the right to withdraw the guilty plea.

VII. VOIDING OF AGREEMENT

        The defendant understands that should the defendant move the Court to accept

the defendant's plea of guilty in accordance with, or pursuant to, the provisions of

North Carolina v. Alford, 400 U.S. 25 (1970), or tender a plea of nolo contendere to

the charges, this agreement will become NULL and VOID.             In that event, the

Government will not be bound by any of the terms, conditions, or recommendations,

express or implied, which are contained herein.



Page 13 of18                                              Defendant's Initials '(,rt"
      Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 14 of 18




VIII. SUBSEQUENT CONDUCT

        The defendant understands that should the defendant violate any

condition of pretrial release or violate any federal, state, or local law, or should

the defendant say or do something that is inconsistent with acceptance of

responsibility, the United States will no longer be bound by its obligation to

make the recommendations set forth in Section III of the Agreement, but

instead, may make any recommendation deemed appropriate by the United

States Attorney in her sole discretion.

IX.     OTHER DISTRICTS AND JURISDICTIONS

        The defendant understands and agrees that this agreement DO ES NOT BIND

any other United States Attorney in any other district, or any other state or local

authority.

X.      COLLECTION OF FINANCIAL OBLIGATION

        In order to facilitate the collection of financial obligations to be imposed in

connection with this prosecution, the defendant agrees to fully disclose all assets in

which the defendant has any interest or over which the defendant exercises control,

directly or indirectly, including those held by a spouse, nominee or other third party.

The defendant also will promptly submit a completed financial statement to the

United States Attorney's Office, in a form that it provides and as it directs. The

defendant also agrees that the defendant's financial statement and disclosures will

Page 14 of 18                                               Defendant's Initials   'Ur"
      Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 15 of 18




be complete, accurate, and truthful. Finally, the defendant expressly authorizes the

United States Attorney's Office to obtain a credit report on the defendant in order to

evaluate the defendant's ability to satisfy any financial obligation imposed by the

Court.

XI.      AGREEMENT REGARDING RELEVANT CONDUCT AND
         RESTITUTION

         As part of the defendant's plea agreement, the defendant admits to the above

facts associated with the charges and relevant conduct for any other acts. The

defendant understands and agrees that the relevant conduct contained in the factual

basis will be used by the Court to determine the defendant ' s range of punishment

under the advisory sentencing guidelines. The defendant admits that all of the crimes

listed in the factual basis are part of the same acts, scheme, and course of conduct.

This agreement is not meant, however, to prohibit the United States Probation Office

or the Court from considering any other acts and factors which may constitute or

relate to relevant conduct. Additionally, if this agreement contains any provisions

providing for the dismissal of any counts, the defendant agrees to pay any

appropriate restitution to each of the separate and proximate victims related to those

counts should there be any.

XII. TAX, FORFEITURE               AND     OTHER      CIVIL/ADMINISTRATIVE
     PROCEEDINGS

         Unless otherwise specified herein,      the defendant understands and

Page 15 of 18                                              Defendant's Initials   ~
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 16 of 18




acknowledges that this agreement does not apply to or in any way limit any pending

or prospective proceedings related to defendant's tax liabilities, if any, or to any

pending or prospective forfeiture or other civil or administrative proceedings.

       Defendant recognizes that pleading guilty may have consequences with

respect to his immigration status if he is not a citizen of the United States. Under

federal law, a broad range of crimes are removable offenses, including the offenses

to which defendant is pleading guilty.            Removal and other immigration

consequences are the subject of a separate proceeding, however, and defendant

understands that no one, including his attorney or the district court, can predict to a

certainty the effect of his conviction on his immigration status.            Defendant

nevertheless affirms that he wants to plead guilty regardless of any immigration

consequences that his plea may entail, even if the consequence is his automatic

removal from the United States.
                                                                                      'v~
XIII. DEFENDANT'S UNDERSTANDING
                                                                                      ,e
       I have read and understand the provisions of this agreement consisting off'(

pages. I have discussed the case and my constitutional and other rights with my

lawyer. I am satisfied with my lawyer's representation in this case. I understand

that by pleading guilty, I will be waiving and giving up my right to continue to plead

not guilty, to a trial by jury, to the assistance of counsel at that trial, to confront,

cross-examine, or compel the attendance of witnesses, to present evidence on my

Page 16 of 18                                               Defendant's Initials   \Lr(')
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              Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 17 of 18




          behalf, to maintain my privilege against self-incrimination, and to the presumption

          of innocence. I agree to enter my plea as indicated above on the terms and conditions

          set forth herein.

                 NO OTHER PROMISES OR REPRESENTATIONS HAVE BEEN
                 MADE TO ME BY THE PROSECUTOR, OR BY ANYONE ELSE,
                 NOR HA VE ANY THREATS BEEN MADE OR FORCE USED TO
                 INDUCE ME TO PLEAD GUILTY.

                 I further state that I have not had any drugs, medication, or alcohol within the

          past 48 hours except as stated here:



                 I understand that this Plea Agreement will take effect and will be binding as

          to the Parties only after all necessary signatures have been affixed hereto.

                 I have personally and voluntarily placed my initials on every page of this

          Agreement and have signed the signature line below to indicate that I have read,

          understand, and approve all of the provisions of this Agreement, both individually

          and as a total binding agreement.


                                                      KONIEMINGA
                                                      Defendant


          XIV. COUNSEL'S ACKNOWLEDGMENT

                 I have discussed this case with my client in detail and have advised my client

          of all ofmy client's rights and all possible defenses. My client has conveyed to me

          Page 17 of 18                                              Defendant's Initials   ~
    Case 6:22-cr-00299-LSC-GMB Document 2 Filed 08/30/22 Page 18 of 18




that my client understands this Agreement and consents to all its terms. I believe the

plea and disposition set forth herein are appropriate under the facts of this case and

are in accord with my best judgment. I concur in the entry of the plea on the terms

and conditions set forth herein.




                                         Defendant's Counsel


XV. GOVERNMENT'S ACKNOWLEDGEMENT

       I have reviewed this matter and this Agreement and concur that the plea and

disposition set forth herein are appropriate and are in the interests of justice.

                                         PRIM F. ESCALONA
                                         United States Attorney



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    DATE                               ?fioc.iEE~
                                        Assistant United States Attorney




Page 18 of 18                                                Defendant's Initials   ~
